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                         IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                              No. 3:13-CR-30012-001 and -002

CHARLES EDWARD ELLIOTT; and
NICHOLAS KRUG                                                                      DEFENDANTS

                                             ORDER

       The Court held a hearing on April 14, 2014, in the above-captioned matter. Defendant Elliot

and Defendant Krug were present with their appointed counsel, Bruce Eddy and Phillip Moon,

respectively. Assistant United States Attorneys Allison Bragg and Wendy Johnson appeared for the

Government. During the hearing, the Court conducted an inquiry into Defendants’ request to

proceed pro se and ruled from the bench on the Government’s pending motion to continue trial

(Doc. 45) and motion to compel production of documents (Doc. 46). This order sets forth the

Court’s findings of fact and conclusions of law. To the extent this order differs from any oral

statements of the Court at the hearing, the language of this order controls.

       At the hearing, Defendants informed the Court that they each wanted to waive the right to

appointed counsel and proceed pro se. The Court engaged in a colloquy with each Defendant to

make sure that they were fully aware of the dangers and risks associated with self-representation.

First, the Court addressed Defendant Krug. Defendant Krug was persistently evasive and refused

to directly answer the Court’s questions. Because of his obstructive behavior, the Court denied his

request to proceed pro se. Second, the Court addressed Defendant Elliot. Defendant Elliot

responded to the Court’s questions and stated that he understood the dangers of self-representation.

The Court determined that Defendant Elliot should be allowed to represent himself in this case. As

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stated at the hearing, the Court APPOINTS Federal Public Defender Bruce Eddy as standby counsel

for Defendant Elliot. Standby counsel is directed not to interfere with Defendant Elliot’s preparation

of his own defense; however, standby counsel may respond to Defendant Elliot’s questions, provide

advice when asked, and offer guidance regarding legal rules and procedure.

       Next, the Court addressed the Government’s second motion to continue trial (Doc. 45)

pursuant to 18 U.S.C. § 3161(h)(3)(A). The Government represented that the primary alleged victim

in this case, Ruthann Currence, is unavailable for trial on April 24, 2014 as she has developed a

severe infection while recovering from surgery and her doctor has advised that she should not travel

at this time due to the infection and the medication prescribed to treat it. Ms. Currence resides in

California, and the Court finds that her inability to travel due to medical reasons makes her

unavailable for purposes of the Speedy Trial Act. 18 U.S.C. § 3161(h)(3)(A). As Ms. Currence is

the primary alleged victim in this matter, the Court also finds that she is an essential witness for

purposes of the Speedy Trial Act. Id. Furthermore, Defendants stated that they do not object to the

continuance. As stated at the hearing, the Court finds that the ends of justice served by allowing a

continuance of this matter outweigh the best interest of the public and Defendants in a speedy trial,

because otherwise an essential Government witness would be unavailable to testify. For these

reasons, the Court ordered from the bench that the Government’s second motion for continuance

(Doc. 45) be GRANTED. This case will be reset for jury trial the week of July 14, 2014. The time

from April 21, 2014 to July 14, 2014 is excludable for purposes of the Speedy Trial Act pursuant

to 18 U.S.C. § 3161(h)(3)(A).

       Finally, the Court addressed the Government’s motion to compel (Doc. 46).                 The

Government advised that Defendant Krug has refused to produce documents relating to this case that


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fall within the scope of the Government’s request for discovery. The Court ruled from the bench

that the Government’s motion to compel (Doc. 46) be GRANTED. Defendant Krug is ORDERED

to appropriately respond to the Government’s discovery request by Wednesday, April 30, 2014.

       IT IS SO ORDERED this 15th day of April, 2014.


                                                          /s/P. K. Holmes, III
                                                          P.K. HOLMES, III
                                                          CHIEF U.S. DISTRICT JUDGE




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